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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BLUEFIELD

VERNON CRADLE,

     Plaintiff,

v.                                       CIVIL ACTION NO. 1:06-0155
                                         (Criminal No. 1:02-00241-06)

UNITED STATES OF AMERICA,

     Defendant.


                      MEMORANDUM OPINION AND ORDER

       By Standing Order, this action was referred to United

States Magistrate Judge R. Clarke VanDervort for submission of

findings and recommendations regarding disposition pursuant to 28

U.S.C.A. § 636(b)(1)(B).      Magistrate Judge VanDervort submitted to

the court his Findings and Recommendation on December 12, 2008, in

which he recommended that the District Court deny plaintiff's

application to proceed in forma pauperis, dismiss plaintiff’s

motion under 28 U.S.C. § 2255 without prejudice, and remove this

matter from the court’s docket.

       In accordance with the provisions of 28 U.S.C.A. § 636(b),

the parties were allotted ten days, plus three mailing days, in

which to file any objections to Magistrate Judge VanDervort’s

Findings and Recommendation.        The failure of any party to file

such objections constitutes a waiver of such party's right to a de

novo review by this court.      Snyder v. Ridenour, 889 F.2d 1363 (4th

Cir. 1989).
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          The parties failed to file any objections to the Magistrate

Judge's Findings and Recommendation within the thirteen-day

period.    Having reviewed the Findings and Recommendation filed by

Magistrate Judge VanDervort, the court adopts the findings and

recommendations contained therein.          Accordingly, the court hereby

DENIES plaintiff's application to proceed in forma pauperis,

DISMISSES plaintiff’s § 2255 motion without prejudice, and directs

the Clerk to remove this case from the court’s active docket.

          The Clerk is directed to forward a copy of this Memorandum

Opinion and Order to plaintiff, pro se, and counsel of record.

          IT IS SO ORDERED this 3rd day of February, 2009.

                                      ENTER:



                                    David A. Faber
                                    Senior United States District Judge




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